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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    In re
                                                                      MASTER DOCKET
    CUSTOMS AND TAX ADMINISTRATION OF
    THE KINGDOM OF DENMARK (SKAT) TAX                                 18 Md. 2865 (LAK)
    REFUND SCHEME LITIGATION
                                                                      ANSWER
    This document relates to: 18 Civ. 4833                            Jury Trial Demanded



               DEFENDANT ADAM LAROSA’S ANSWER TO THE COMPLAINT

            Defendant Adam LaRosa (“LaRosa”), through his undersigned counsel, hereby submits

the following Answer to the Complaint (ECF No. 1, May 31, 2018) of Plaintiff Customs and

Tax Administration of the Kingdom of Denmark (“SKAT”). Except as hereinafter expressly

admitted, qualified, or otherwise answered, LaRosa denies each and every allegation and

assertion made in the Complaint. The paragraphs that follow align with the numbered

paragraphs in the Complaint.

I.      INTRODUCTION1

               1. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 1.

               2. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 2, except he denies involvement in any fraudulent tax refund

scheme.

               3. LaRosa lacks knowledge or information sufficient to form a belief as to the truth



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 The repetition of the headings and subheadings contained in the Complaint is not an adoption of those headings,
nor an admission of their truth. Rather, LaRosa includes those headings in this Answer purely for the Court’s ease
of reference.
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of the allegations set forth in Paragraph 3, except he denies involvement in any fraudulent

scheme or in any entity “pretending” to own shares. To the extent that Paragraph 3 purports to

summarize or describe Danish tax statutes and treaties, those documents speak for themselves

and require no answer from LaRosa.2

           4. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 4, except he denies involvement in submitting any

fraudulent reclaim applications.

           5. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 5, except he denies involvement in any fraudulent

scheme or in submitting any false documents.

           6. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 6, except he denies involvement in any fraudulent

scheme or in making any false representations.

           7. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 7, except he denies involvement in making any false

claims.

           8. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 8, except he (i) admits that one or more law

enforcement authorities are currently investigating allegations in the Complaint, and (ii) denies


2
  Throughout this Answer, to the extent that LaRosa responds that a document quoted or
summarized in the Complaint speaks for itself and requires no answer, he respectfully refers the
Court to the document itself for its full terms and effect. LaRosa notes that, by referring the
Court to such a document, he does not admit either the accuracy of the quotation/summary or the
genuineness or accuracy of the document itself. To the extent any such document is later shown
to be inauthentic, incomplete, or inaccurate in whole or in part, the relevant allegation(s) of the
Complaint are denied.
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involvement in any fraudulent scheme.

           9. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 9, except he (i) admits executing on behalf of the

Raubritter LLC Pension Plan (“Raubritter”) a power of attorney form dated January 16, 2013

(the “Raubritter POA”) authorizing third-party payment agent Acupay System LLC (“Acupay”)

to submit Raubritter’s tax refund claims and to receive payments in respect of those claims on

Raubritter’s behalf, and (ii) denies involvement in any fraudulent scheme or in making any false

submissions or representations.

           10. LaRosa denies the allegations in Paragraph 10.

           11. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 11, except he (i) admits upon information and belief

that SKAT made reclaim payments to Acupay on behalf of Raubritter which were distributed to

Raubritter and one or more other entities, and (ii) denies participation in any fraud.

           12. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 12, except he denies involvement in any fraudulent

scheme.

           13. LaRosa denies the allegations in Paragraph 13.

II.   JURISDICTION & VENUE

           14. Paragraph 14 consists of a legal conclusion which requires no answer from

LaRosa.3



3
  At various points throughout this Answer, LaRosa responds that a paragraph of the Complaint
states a legal conclusion that requires no response. To the extent it is later determined that a
response is required, LaRosa shall be deemed to deny each and every allegation to which this
response is interposed.
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            15. Paragraph 15 consists of a legal conclusion which requires no answer from

 LaRosa.

III.   PARTIES

            16. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in Paragraph 16.

            17. LaRosa admits upon information and belief the allegations in Paragraph 17.

            18. LaRosa denies the allegations in Paragraph 18, except (i) he admits that he is a

 citizen of a state of the United States and that he executed the Raubritter POA described in

 paragraph 9 of this Answer, and (ii) to the extent that Paragraph 18 purports to summarize or

 describe the Raubritter POA, that document speaks for itself and requires no answer from

 LaRosa.

IV.    FACTUAL ALLEGATIONS

       A.       The Danish Withholding Tax System

            19. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in Paragraph 19, except he admits the allegations in the first sentence

 of Paragraph 19.

            20. Paragraph 20 purports to summarize or describe the Danish Withholding Tax

 Act. This statute is a publicly-available document which speaks for itself and requires no

 answer from LaRosa.

            21. Paragraph 21 purports to summarize or describe Danish tax statutes and treaties.

 Those publicly-available documents speak for themselves and require no answer from LaRosa.

            22. Paragraph 22 purports to summarize or describe the Convention and Protocol

 between the United States and Denmark for the Avoidance of Double Taxation and the


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Prevention of Fiscal Evasion with Respect to Taxes on Income. This Convention is a publicly-

available document which speaks for itself and requires no answer from LaRosa.

           23. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 23.

           24. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 24.

     B.        The Fraudulent Scheme

           25. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 25, except he denies involvement in any fraudulent

scheme.

               1.      The Fraudulent Refund Claims Process

           26. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 26, except he denies involvement in submitting any

fraudulent claims.

           27. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 27, except he admits that Raubritter received payments

from Acupay.

           28. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 28, except he admits that he executed the Raubritter

POA described in paragraph 9 of this Answer. To the extent that Paragraph 28 purports to

summarize or describe the Raubritter POA, that document speaks for itself and requires no

answer from LaRosa.

           29. LaRosa lacks knowledge or information sufficient to form a belief as to the truth


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of the allegations set forth in Paragraph 29, except he denies involvement in any fraudulent

claims.

           30. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 30.

           31. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 31.

               2.      The Role of the Claimants

           32. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 32, except he denies involvement in any fraudulent

scheme.

           33. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 33, except he admits upon information and belief that

Raubritter made withholding tax refund claims through Acupay.

           34. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 34, except he (i) denies involvement in any fraudulent

claims, and (ii) admits that he executed the Raubritter POA described in paragraph 9 of this

Answer. To the extent that Paragraph 34 purports to summarize or describe the Raubritter

POA, that document speaks for itself and requires no answer from LaRosa.

           35. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 35, except he (i) denies involvement in any fraudulent

claims, and (ii) admits that he executed the Raubritter POA described in paragraph 9 of this

Answer. To the extent that Paragraph 35 purports to summarize or describe the Raubritter

POA, that document speaks for itself and requires no answer from LaRosa.


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           36. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 36, except he admits upon information and belief that

Raubritter made a number of withholding tax refund claims through Acupay in which Acupay

represented that Raubritter was entitled to refunds.

           37. LaRosa denies the allegations in Paragraph 37.

           38. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 38, except he (i) admits upon information and belief

that SKAT made a number of payments to Raubritter through Acupay, and (ii) denies

involvement in any false refund claims.

               3.      The Role of the Claimants Authorized Representatives

           39. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 39, except he admits that he executed the Raubritter

POA described in paragraph 9 of this Answer. To the extent that Paragraph 39 purports to

summarize or describe the Raubritter POA, that document speaks for itself and requires no

answer from LaRosa.

           40. Paragraph 40 purports to summarize or describe the Raubritter POA, which

speaks for itself and requires no answer from LaRosa.

           41. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 41, except he (i) denies involvement in any fraudulent

tax refund requests or in “pretending” to own shares in Danish companies, and (ii) admits he

signed Power of Attorney documents on behalf of U.S. entities that traded shares in Danish

companies listed on the OMX Copenhagen 20 Index.




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               4.      The Role of the Payment Agents

           42. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 42, except he denies (i) involvement in any fraudulent

withholding tax refund claims, and (ii) that any Payment Agent submitted any withholding tax

refund claims “at the direction of” LaRosa.

           43. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 43, except he admits that he executed the Raubritter

POA described in paragraph 9 of this Answer. To the extent that Paragraph 43 purports to

summarize or describe the Raubritter POA, that document speaks for itself and requires no

answer from LaRosa.

           44. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 44.

           45. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 45.

           46. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 46, except he (i) admits upon information and belief

that SKAT made reclaim payments to Acupay on behalf of Raubritter, which were distributed to

Raubritter and one or more other entities, and (ii) denies participation in any fraud.

               5.      The Role of the Broker-Custodians

           47. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 47.

           48. To the extent that Paragraph 48 purports to summarize or describe a “credit

advice,” that document speaks for itself and requires no answer from LaRosa.


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           49. LaRosa denies the allegations in Paragraph 49.

           50. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 50, except he denies involvement in any fraudulent tax

refund claims.

                                    CAUSES OF ACTION

                                           COUNT I

                             (Fraud – Against Both Defendants)

           51. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

50, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 50.

           52. LaRosa denies the allegations in Paragraph 52.

           53. LaRosa denies the allegations in Paragraph 53.

           54. LaRosa denies the allegations in Paragraph 54.

           55. LaRosa denies the allegations in Paragraph 55.

                                          COUNT II

                  (Aiding and Abetting Fraud – Against Both Defendants)

           56. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

55, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 55.

           57. LaRosa denies the allegations in Paragraph 57.

           58. LaRosa denies the allegations in Paragraph 58.

           59. LaRosa denies the allegations in Paragraph 59.

           60. LaRosa denies the allegations in Paragraph 60.


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           61. LaRosa denies the allegations in Paragraph 61.

           62. LaRosa denies the allegations in Paragraph 62.

                                           COUNT III

           63. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

62, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 62.

           64. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 64.

           65. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 65, except he denies involvement in making any invalid

claims or submitting any invalid supporting documentation.

           66. LaRosa lacks knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 66.

           67. LaRosa denies the allegations in Paragraph 67.

           68. LaRosa denies the allegations in Paragraph 68.

                                           COUNT IV

                       (Unjust Enrichment – Against Both Defendants)

           69. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

68, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 68.

           70. LaRosa denies the allegations in Paragraph 70.

           71. LaRosa denies the allegations in Paragraph 71.

           72. LaRosa denies the allegations in Paragraph 72.


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            73. LaRosa denies the allegations in Paragraph 73.

                                          COUNT V

                      (Money Had & Received – Against Both Defendants)

            74. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

73, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 73.

            75. LaRosa denies the allegations in Paragraph 75.

            76. LaRosa denies the allegations in Paragraph 76.

                                          COUNT VI

                   (Negligent Misrepresentation – Against Both Defendants)

            77. This is a statement reincorporating SKAT’s allegations in Paragraphs 1 through

76, to which no response is required. To the extent a response is required, LaRosa

reincorporates his responses to Paragraphs 1 through 76.

            78. Paragraph 78 consists of a legal conclusion which requires no answer from

LaRosa.

            79. LaRosa denies the allegations in Paragraph 79.

            80. LaRosa denies the allegations in Paragraph 80.

            81. LaRosa denies the allegations in Paragraph 81.

                                SKAT’S REQUEST FOR RELIEF

        The remainder of the Complaint constitutes SKAT’s request for relief to which no

response is required. To the extent a responsive pleading is required, LaRosa denies that SKAT

is entitled to the relief sought.




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                                           DEFENSES

                                        FIRST DEFENSE

        The Complaint fails to state a claim upon which relief may be granted.

                                       SECOND DEFENSE

        SKAT’s claims are barred by the rule against foreign revenue enforcement.

                                        THIRD DEFENSE

        LaRosa acted at all times reasonably and with due care; reasonably relied upon the

actions and statements of others; and did not directly or indirectly cause, induce, aid, or abet any

acts constituting the claims asserted by SKAT.

                                       FOURTH DEFENSE

        LaRosa did not engage in any unlawful conduct, and LaRosa is not liable for any

unlawful acts that may have been committed by others.

                                        FIFTH DEFENSE

        SKAT has failed to mitigate, minimize, or avoid any alleged damages.

                                        SIXTH DEFENSE

        SKAT is barred from relief by the doctrines of unclean hands, estoppel, laches, release,

unjust enrichment, and/or waiver due to SKAT’s own acts and/or omissions with reference to

the subject matter of the Complaint.

                                       SEVENTH DEFENSE

        The alleged damages sought by SKAT are barred, in whole or in part, by the applicable

statute(s) of limitations.




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                                       EIGHTH DEFENSE

       The proximate cause of SKAT’s injuries, if any, is the conduct of SKAT or others and

not any act or omission by LaRosa.

                                       NINTH DEFENSE

       The claims alleged in the Complaint are barred in whole or in part for failure to join

indispensable or necessary parties.

                                       TENTH DEFENSE

       The recovery by SKAT, if any, should be barred because the subject matter of this

lawsuit is the subject of another pending legal proceeding.

                                      ELEVENTH DEFENSE

       SKAT’s action is barred because of SKAT’s failure to exhaust administrative and other

legal remedies available to it.

                                      TWELFTH DEFENSE

       LaRosa hereby adopts and incorporates by reference any and all other legally valid

defenses to be asserted by any other defendant in this action to the extent they are applicable to

LaRosa.

                                        RESERVATION

       LaRosa hereby gives notice that he intends to rely on any other defenses that may

become available or appear during the course of this action.

                                        JURY DEMAND

       LaRosa demands a trial by jury on all issues so triable.




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       WHEREFORE, Defendant Adam LaRosa respectfully requests that judgment be entered

for him dismissing the Complaint with prejudice and granting such other and further relief as

the Court deems just and proper.

Dated: New York, New York
       February 22, 2019

                                            MORVILLO ABRAMOWITZ GRAND
                                            IASON & ANELLO P.C.

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